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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                        www.flsb.uscourts.gov
In re:
                                                       Chapter 11

IT’SUGAR FL I LLC,                                     Case No. 20-20259-RAM
IT’SUGAR LLC,                                          Case No. 20-20261-RAM
IT’SUGAR ATLANTIC CITY LLC,                            Case No. 20-20263-RAM
IT’SUGAR FLGC LLC,                                     Case No. 20-20264-RAM
                                                       (Joint Administration pending)
             Debtors.
_______________________________/

                         DEBTORS’ EMERGENCY FIRST OMNIBUS
                         MOTION TO REJECT UNEXPIRED LEASES

                                 (Emergency Hearing Requested)

                             Basis for Requested Emergency Hearing

           The Debtors respectfully request that the Court conduct a hearing on this Motion
           consistent with Local Rule 9013-1(F). The Debtors operate a retail candy business
           in leased locations throughout the United States. The leases described herein must
           be rejected immediately to avoid irreparable harm to the Debtors and facilitate a
           successful reorganization. The Debtors request a waiver of the requirements of
           Section 345. The Debtors respectfully request that the Court waive the provisions
           of Local Rule 9075-1(B), which requires an affirmative statement that a bona fide
           effort was made in order to resolve the issues raised in this Motion, as the relief
           requested herein is urgent in nature and does not lend itself to advance resolution.

                     LANDLORDS RECEIVING THIS MOTION SHOULD
                       REVIEW ATTACHED EXHIBIT A TO LOCATE
                      THEIR NAME, LEASED LOCATION AND LEASE

         It’Sugar FL I LLC, It’Sugar LLC, It’Sugar Atlantic City LLC, and It’Sugar FLGC LLC

(the “Debtors”), pursuant to 11 U.S.C. § 365(d), move this Court for entry of an order authorizing

the Debtors to reject certain unexpired leases and, in support thereof, state:

                                          JURISDICTION

         1.     This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157(b) and

1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue of the Motion is proper under
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28 U.S.C. § 1408 and 1409.

       2.      The statutory predicate for the relief requested herein is 11 U.S.C. § 365(d) of 11

U.S.C. § 101 et seq. (the "Bankruptcy Code").

                                     II.     BACKGROUND

       3.      On September 22, 2020 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under Chapter 11 of the Bankruptcy Code.

       4.      The Debtors manage and operate their business as debtors in possession pursuant

to §§ 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed.

       5.      The Debtors operate as a single business and are known throughout the industry as

It'Sugar. It'Sugar is a specialty candy retailer whose products include bulk candy, candy in giant

packaging, and licensed and novelty items. It'Sugar’s portfolio includes approximately 100 retail

locations across 28 states.

       6.      Prepetition, the Debtors entered into nonresidential real property leases for their

business operations.

       7.      The Debtors seek to reject those certain unexpired leases listed on the attached

Exhibit A (the “Leases”), because the Debtors intend to close the stores located at the premises

covered by the Leases and, further, the Debtors do not believe that any of the Leases have any

value that can be achieved through an assumption and assignment to a third party, if permissible,

due to their above market rates. Therefore, maintaining the Leases would impose unnecessary

costs and burdens on the Debtors’ estates.

       8.      Pursuant to 11 U.S.C. § 365(a), subject to Court approval, the Debtors may “assume

or reject any executory contract or unexpired lease of the debtor” that was entered into prepetition.




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In determining whether or not a rejection is appropriate, the Debtors must employ the traditional

“business judgment” standard. In re Prime Motors Inns, 124 B.R. 378 (Bankr. S.D. Fla.). In Prime

Motors Inns, the Court held that the “[d]ebtor-in-possession’s rejection of an executory contract is

proper if it would be advantageous to debtor’s estate.”

       9.      The Debtors believe that it is in the best interest of the Debtors and their estates that

the Leases be rejected as they are burdensome and unnecessary to the Debtors and their operations.

       WHEREFORE, the Debtors respectfully request the Court enter an order authorizing the

Debtors to reject the Leases set forth on Exhibit A, and for such other and further relief as this

Court deems just and proper.

       Dated: September 23, 2020.

                                                        s/ Michael S. Budwick
                                                       Michael S. Budwick, Esquire
                                                       Florida Bar No. 938777
                                                       mbudwick@melandrbudwick.com
                                                       Joshua W. Dobin, Esquire
                                                       Florida Bar No. 93696
                                                       jdobin@melandbudwick.com
                                                       James C. Moon, Esquire
                                                       Florida Bar No. 938211
                                                       jmoon@melandbudwick.com
                                                       MELAND BUDWICK, P.A.
                                                       3200 Southeast Financial Center
                                                       200 South Biscayne Boulevard
                                                       Miami, Florida 33131
                                                       Telephone: (305) 358-6363
                                                       Telecopy: (305) 358-1221

                                                       Proposed Attorneys for Debtors




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Store No. Store Name                Store Address                               City                 State   Zip     Landlord             Address                                                  City           State   Zip        Lessee
1021      Downtown at the Gardens   11701 Lake Victoria Gardens AVE #2103       Palm Beach Gardens   FL      33410   Downtown At The      c/o Downtown Gardens Management Company LLC 5410         Rockville      MD      20852      IT'SUGAR LLC
                                                                                                                     Gardens              Edson Lane, Suite 220
                                                                                                                     Associates, Ltd.
1022     Sunset Place               5701 Sunset Drive, #224                     Miami                FL      33143   Shops At Sunset c/o M.S. Management Associates Inc.                           Indianapolis   IN      46204‐3438 IT'SUGAR LLC
                                                                                                                     Mall Owner, LLC 225 West Washington Street
1033     West Delray                9169 West Atlantic Ave #112                 Delray Beach         FL      33446   KRG/Atlantic    c/o Kite Realty Group                                         Indianapolis   IN      46204      IT'SUGAR LLC
                                                                                                                     Delray Beach, LLC
                                                                                                                                     Attn: Vice President of Property Operations
                                                                                                                                     30 South Meridian, Suite 1100
1051     Delray II‐ Atlantic Ave    250 E. Atlantic Avenue                      Delray Beach         FL      33444   Downtown Delray 15941 D'Alene Drive                                           Delray Beach   FL      33446      IT'SUGAR LLC
                                                                                                                     Holdings, LLC

1055     Washingtonian              216 Boardwalk Place                         Gaithersburg         MD      20878   Washingtonian        c/o The Peterson Companies                               Fairfax        VA      22033      IT'SUGAR LLC
                                                                                                                     Lake L.L.C.          12500 Fair Lakes Circle, Suite 400
                                                                                                                                          Attn: General Counsel, Retail,
1057     Madison                    542 State Street                            Madison              WI      53703   J.Q. Nova, LLC       502 N. Eau Claire Ave.                                   Madison        WI      53705      IT'SUGAR LLC
                                                                                                                                          Macerich Niagara LLC                                     Coral Gables   FL      33134      IT'SUGAR LLC
                                                                                                                                          c/o The Talisman Companies
                                                                                                                                          355 Alhambra Circle, Suite 1250
                                                                                                                                          Attn: James Schlesinger, President
                                                                                                                     Fashion Outlets II   Akerman Senterfitt LLP                                   New York       NY      10103      IT'SUGAR LLC
1069     Niagara Falls              1803 Fashion Outlets Blvd, Space 284        Niagara Falls        NY      14304
                                                                                                                     LLC                  666 5th Avenue, 19th Floor
                                                                                                                                          Attn: Robert Claeson, Esq.
                                                                                                                                          Macerich Niagara, LLC                                    Santa Monica   CA      90401      IT'SUGAR LLC
                                                                                                                                          401 Wilshire Blvd, Suite 700
                                                                                                                                          Attn: Legal Counsel ‐ Fashion Outlets of Niagara
1077     Coconut Creek              4437 Lyons Rd, Ste 103                      Coconut Creek        FL      33073   MCA Promenade        c/o Hill Partners, Inc.                                  Charlotte      NC      28203      IT'SUGAR LLC
                                                                                                                     Owner LLC            2201 South Boulevard, Suite 400
                                                                                                                                          Attn: Robert H. Spratt, Jr.
1080     Gaslamp                    450 5th Avenue, space 101                   San Diego            CA      92101   HPC Gaslamp          c/o HP Inventors                                         La Jolla       CA      92037      IT'SUGAR LLC
                                                                                                                     Square, LLC          9404 Genesee Avenue, Suite 330
1108     Bayside Temp Store         401 Biscayne Blvd Space S151                Miami                FL      33132   Bayside              c/o Ashkenazy Acquisition Corporation                    New York       NY      10155      IT'SUGAR LLC
                                                                                                                     Marketplace, LLC     150 East 58th Street, 39th Floor
                                                                                                                                          c/o Grubb & Ellis Management Services, Inc.              Doral          FL      33122      IT'SUGAR LLC
                                                                                                                     Quiet Waters       8200 NW 33rd Street, Suite 107
1000     Deerfield Office           3155 SW 10th St                             Deerfield Beach      FL      33442
                                                                                                                     Business Park, LLC
                                                                                                                                        Prudential Real Estate Investors                           Chicago        IL      60601      IT'SUGAR LLC
                                                                                                                                        180 N Stetson, Suite 3275
1063     3rd Street Prom            1427 3rd Street Promenade, Ste. # 102       Santa Monica         CA      90401   Promenade          127 Esparta Way                                            Santa Monica   CA      90402      IT'SUGAR LLC
                                                                                                                     Enterprises, L.P.
1040     Washington DC              714 7th Street NW                           Washington           DC      20001   Jemal's Chinatown c/o Douglas Development Corporation                         Washington     DC      20001      IT'SUGAR LLC
                                                                                                                     II, LLC            702 H Street, N.W. Suite 400
1047     Key West                   117 Duval St                                Key West             FL      33040   117 Duval, LLC     423 Front Street, 2nd Floor                                Key West       FL      33040      IT'SUGAR LLC
                                                                                                                                        Charles Ittah                                              Plantation     FL      33324      IT'SUGAR LLC
                                                                                                                                        7820 Peters Rd., Suite E‐104
1054     UES                        1542 3rd Avenue                             New York             NY      10028   ESRT 1542 Third    c/o ESRT Management, L.L.C.                                New York       NY      10165      IT'SUGAR LLC
                                                                                                                     Avenue, LLC        One Grand Central Place
                                                                                                                                        60 East 42nd Street
1028     NYC UWS                    1870 Broadway‐ Unit B                       New York             NY      10023   1880 Broadway      c/o Global Holdings Management (US) Inc                    New York       NY      10001      IT'SUGAR LLC
                                                                                                                     Retail, LLC        Nomad Tower 1250 Broadway, 38th Floor
                                                                                                                                        Attn: Craig Panzirer
                                                                                                                                        c/o Global Holdings Management (US) Inc                    New York       NY      10001      IT'SUGAR LLC
                                                                                                                                        Nomad Tower 1250 Broadway, 38th Floor
                                                                                                                                        Attn: Peter Allen, Esq.
                                                                                                                                        Loeb & Loeb LLP                                            New York       NY      10154      IT'SUGAR LLC
                                                                                                                                        Attn: Nichole D. Cortese, Esq.
                                                                                                                                        345 Park Avenue
1059     Brooklyn                   210 Joralemon St. Space E                   Brooklyn             NY      11201   210 Muni, LLC      430 West Broadway, Third Floor                             New York       NY      10012      IT'SUGAR LLC
                                                                                                                                        NYC Department of Citywide Administrative Services Attn:   New York       NY      10009      IT'SUGAR LLC
                                                                                                                                        Jeffrey Kondrat, Assistant Commissioner,
                                                                                                                                        One Centre Street, 20th Floor North
                                                                                                                                        NYC Department of Citywide Administrative Services Attn:   New York       NY      10009      IT'SUGAR LLC
                                                                                                                                        General Counsel
                                                                                                                                        One Centre Street, 20th Floor North
1014     Grapevine Mills            3000 Grapevine Mills Parkway, Suite #413    Grapevine            TX      76051   Grapevine Mills    c/o M.S. Management Associates Inc.                        Indianapolis   IN      46204‐3438 IT'SUGAR LLC
                                                                                                                     Mall Limited       225 West Washington Street
                                                                                                                     Partnertship




                                                                                                                                                                                                                                  EXHIBIT A
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Store No. Store Name       Store Address                                    City       State   Zip     Landlord              Address                                        City           State   Zip        Lessee
1106      Sawgrass Mills   12801 W Sunrise Boulevard, 307                   Sunrise    FL      33323   Sunrise Mills (MLP)   c/o M.S. Management Associates Inc.            Indianapolis   IN      46204‐3438 IT'SUGAR LLC
                                                                                                       Limited               225 West Washington Street
                                                                                                       Partnership
1074      Arundel Mills    7000 Arundel Mills Circle, Space 341             Hanover    MD      21076   Arundel Mills         c/o M.S. Management Associates Inc.            Indianapolis   IN      46204‐3438 IT'SUGAR Atlantic City
                                                                                                       Limited               225 West Washington Street                                                       LLC
                                                                                                       Partnership
1078      Colorado Mills   14500 W Colfax Ave, Space 436                    Lakewood   CO      80401   Colorado Mills Mall   c/o M.S. Management Associates Inc.            Indianapolis   IN      46204‐3438 IT'SUGAR Atlantic City
                                                                                                       Limited               225 West Washington Street                                                       LLC
                                                                                                       Partnership
4001      Darien NB        I95 Darien Northbound Rest stop (Exits 12‐13)    Darien     CT      06820   Project Service LLC   300 Sub Way                                    Milford        CT      06461       IT'SUGAR LLC

                                                                                                                           Squire Patton Boggs (US) LLP,                    New York       NY      10112       IT'SUGAR LLC
                                                                                                                           Attn: Roderick N. Devlin, Esq.
                                                                                                                           30 Rockefeller Plaza
4002      Darien SB        I95 Darien Southbound Rest stop (Exits 10‐9)     Darien     CT      06820   Project Service LLC 300 Sub Way                                      Milford        CT      06461       IT'SUGAR LLC

                                                                                                                           Squire Patton Boggs (US) LLP,                    New York       NY      10112       IT'SUGAR LLC
                                                                                                                           Attn: Roderick N. Devlin, Esq.
                                                                                                                           30 Rockefeller Plaza
4003      Milford SB       I95 Milford Southbound Rest stop (Exits 41‐40)   Milford    CT      06460   Project Service LLC 300 Sub Way                                      Milford        CT      06461       IT'SUGAR LLC

                                                                                                                             Squire Patton Boggs (US) LLP,                  New York       NY      10112       IT'SUGAR LLC
                                                                                                                             Attn: Roderick N. Devlin, Esq.
                                                                                                                             30 Rockefeller Plaza
